         Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 1 of 22
                                                                                   R E C E I V E
                                                                                    MOLLY C. DWYER, CLERK
                                                                                      U.S. COURT OF APPEALS

                                                                                          APR 0 2 2021
                       UNITED STATES COURT OF APPEALS
                                                     FILED
                            FOR THE NINTH CIRCUIT    DQCKETED
                                                                                                 DATE          INITIAL



                                CotterlyWn 9th Cir. Case No. 2--1 - 10040
Appel lant(s),
                                                      District Court or
                vs.                                   BAP Case
                                                                        I~,str~ t `7~~J'~Cri'1<cj iL.rcS~/t
 Ll~?'- rem     tSfQ mss'        , ~rc~
Appellee(s).

                   APPELLANT'S INFORMAL OPENING BRIEF
        (attach additional sheets as necessary, up to a total of 5Ohages including this form)



JURISDICTION. This information helps the court determine if it can review your
case.

1.   Timeliness of Appeal:

        a. What is the date of the judgment or order that you want this court to
            review? it f0212 00 ar?d 11271Zi%/


        b. Did you file any motion, other than for fees and costs, after the judgment
           was entered? Answer yes or no: Alo

                 . If you did, on what date did you file the motion?

                   For prisoners or detainees, what date did you give the motion to
                   prison authorities for mailing?

                   What date did the district court or bankruptcy appellate panel (PAP)
                   decide the motion that you filed after judgment?

        c. What date did you file your notice of appeal? 2&~{ f 20z~ ~r2Se
                                                                ('ti" f l~j°~ca~~ fib/.•~' <~1'~~'~~tc'rs.,j
                   For prisoners or detainees, what date did you give your notice of
                   appeal to prison authorities for mailing? / f2J%.:?a00
         Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 2 of 22




C~ g4lvl,27A 7- OA1
                                                                   0


                   Clz~ecl    /?.p?e. 5 a ~Aa                      Jece;wn t?,
                1'rgel7ered reler< W-e,
                e/7-t- Z   1-2& In      6-eewen-ItdelCl o                     2,~    Fad




pule or (>Ve. (,,>ie, 77ambam,                                          1,-,),96 2/0),

               12z~jcamene~    C,

             <W22                 Y2                                              we'ne-Z/o
 179                            Z,
                                 ,1n1)a4S;-kn-4-ZL A'ce-           fivwscr-O a llrm z4pte
 29l           %l1               1inp. ISM 04490' 6,   -'vp leffieni by        oleleendW
 07
 200
210a-1      10/4                                               7"or 1?ep y 13rl-of

                                            P%
                 712 0Z        P,'~-IrlCe ej7a4-13
                                                ' 126zi, ?d ard,-t-

co/vz:~~v -rs     (i-lalv I ,17e,"-d 4 lC1175 a",141 aaf"-5)




                                                                    Faye

                               re

  Y.
   ' LC6,14 L A LITI-1,09 VCS
           Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 3 of 22


  9th Cir, Case No. 20- io 5'71')' 2/- Icy 1-W,                FzjC T-5 2, to 2              Page 2



  FACTS.Include       all facts that the court needs to know to decide your case.


  2.     What are the facts of your case?

                      are-g1
                          vey7e-,d,          .-eel -zf                    e_ IJW,5 ", F:? ~i' -2,
                                                                            12
                                                                             1
                                                                          2




 To lnj
      c                                       4~,4,ne,           19elli a,-;f

                                                                                                   1,70




 Aa,le
               461-aUJAI OCZZejf 41A4                    a r'alnil
                                                                 -w-1. Z-vnplo

                         ;,-hle
                   fe*~ :-
               4- 161,
          )wb
           PIVI~5-Siowe"Z                                                      1--2r, lrevoz- F-~,r5
.fe,-"ple"e p1p1-e6-1O,-OZ4-J
                 are                             a
                                                              191 Y-2—
,2,-y                                                    pl-4/1'(-
                                                                         J;!e
 my        6ill&

1"al-ee,te,k, -Zhe 17a, iL,
 j



         AIJ
    -fhefe    /)v z'p
  7 Adel fa- a6erz~, F4~), -Iiv 0
                                2

                Mr, FA&be,',if IAdi 1/16
                                                                                      ,e, 12e,,
                                                                                              (-
  S' 72fe r45:1w,16 o7z'11,e Pa                                                 1w74e-ev'74
 ~V- -111-e /?epIy, pac Z,0p cle4~p;le                               0 172 e    an                 Pll
                                                                                     e7-L, page -9-
           Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 4 of 22


.20--/0~71'~-'/- 100,-T(j                   FA CrS Z 9 Zo
Z,9       1
                     (- e7n
                    M-j          tr p/apr 40ally 7',Or eq'8 4*.,-IA 02'
                                        ,
                                                         Z,r $ CPP,- 949 Z,7
                                                           - 17),teM

htvl-e                                                           PrW ~1e
                          olespeZe elle 1,~a`
                e         nS Ma e /~ &rp ry 6                    gae a
 MI/S 7!zci                            qwsew dy Mx
                                 a.-?xr)
    Me               eoa4,.'-
                           , i?k 415 re le                                 e,

    i.5- Ina,             P/ o IKel-ezl fQ g4) ,-n Ao -;`he- Tucwa- -7-cb7 offlice cal -& Waq,~
 o          irl .,aeee,-~YiAy -tire                                 en /n
f9ffer 7!~ ael '

                                             4he     Zc~~

                      WIN.y
                      '         & A        Z- 711
                                                le                             1,1
                                                                                 4,me.,
 yd
 '4 a
                71
                 -je Zrl&e7- 4WK,
                                ,h--W        Mal a as; .5-eA-7i
                                                              -nee




Z_/~  _Zavn tvtf!i loreaaz~on the                           15192 &a5e, cd$
                    ;-b jxei-Z~                                                            7e
~AA-7.                         I -' m y
,Mu5e,


                          MolElie 1992



         -rlie lwiuzx-o?celfe   1992 ca.5'e-,

                         &A,-         Ar
              ovel,lwl                                            CC4ece en,-ZI
                                                                             '7c- A&rUZe
              Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 5 of 22



2~1- '//~~~rc~seCa~lorU r.~`G~~.~;~c~!,~ iia~s~r~//y a✓.'~r~no.~tc~orn~`~~fa~ir~fs~r~~Q~~~ br~ff :r
                   197
      `There r5 17o r72ecelrie Wv•agnos,`, fD ~s ,~ ~ e~o~r~sec~z`: rr`s sPece/rrfi-n,;
     ,1
a a,Pzred by

Z1'         -Ile                   y cvrduej~ r~ma,•iT.r~r «rlr~sal~c~,c0117IAh"6 7a



                                                                                                   er-
l.-~e itS ~~zv'Otr~/~ w~o~'iUY'1nBf,+~a r~~~ crf/j~ti. C~nriB~,7r/1„5', Lr~irr.GCcy ~nc~c/Pine' ~~
urrh elz~. ? /, amine GrJ~v► e 7'.e~' S'~ e~pr!win,7 ~iee 41I sfu~ r~celrec/
                  Secu~ay            1 ~c% ~f ~r dCGri~ - P /z cat t/f ~vnisrtary.'r`~
r/i2 f r~         rr~ h                fry 711ze c"tea,/          rrJolcoWIe r~ e%Q rz v M4,s

     c7G   Z~L~ Z, r4~ .

r~'t~;~~                            517 2.5; /S~ W fiLf r©ndt ftn;
       Ile 6e l49 reeaKno Syr .m ~ ,7n >a~ nyy''rr~s.~ o~c a er X1,7 200 G" v2~
                            - ewves
                         I ,rl a,7 j ,ytcLicile CZ he, e
                    e- cvfr                                                          ztJ 't/llrC QfG



                                            1/e troe25Z-
G°or"oG'r?i2rr2~f
~~/~r• ~~~ri7;Dr~'~:~ ~.f2 AS ~t'~~~h~s: ~z - ~~fif~-~ cQo rrec~~~ 7~/'~~t ~r1~ ~,ti~ A'



                                               ~.~                           ~ ft~'c~7[~
                                                j' ~                         .~ %9, l l
Q      e"Ia p/~~? /~G~n 7e ~J~ ~2 ~~~1eG~ fvs ~ //G~ls f g ! ,2U 1%~~Z ~f ~r Gtr
(~tn,~r1 >r-z v •r1 ,J, 9 r ~ -rr~ 1.2oItl >~reeelo 1 cam 4:t/f~a~
 r~xn~~ ~• y.2 ~~~' termer
x.22               a,af
                      cSel: Z7us''G-ele, a,22t,2-n,
c~                                                                                       17°P ;Z
                                                        F C,%&,-;14 ~
                                                   &inch j1apc                f"'/
                                  /7,./ J . q) Zte-t2                   r»'
                         2d)D l             (197
              Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 6 of 22


                                                       C 75 .2, Z4 ~v f, 2.Y


  ra i. rle   j e-,3   C5-r7eV al
                                e-11                                                            cafe
                        Ay5 Cat, Con rl-ary fa Pe& 1,9 7 1-5,-IY                                   z~,




                                              ;
                                              -1
                                               -2            12                  Vv 141Vk1
                                                                                         ,;9e




                                                                         71


                                            'a                                   r: r"."np            7Xk,

                                                                    7e       0 c--wwe
                                                                           61,


              yean~r ag o a-na
                               K12e,                                                            5~7
~eritally ec C-                              ew?w eau ",ew ez1v)e-e-14-         by   n",g


                                              He4ld;   /-e e,-7

ell eI In e&.- i5:-,     4e,
                           2,      e2-,',o eieli, 2 4. o, re, s          12,v
                          C71, p,V to 5r,.5 tdOJ e-2,V              )1
                                                                     '112,
                                                                         -

                                                                                I)-V,-Il 44V

                                                             e                                 Z~>7;6127
           Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 7 of 22


  9th Cir. Case No.                         21-141W                                         Page 3


  PROCEEDINGS BEFORE THE DISTRICT COURT OR THE BAP. In                           this
  section, we ask you about what happened before you filed your notice of appeal with
  this court.

  3. What did you ask the district court or the BAP to do—for example, did you
     ask the court to award money damages, issue an injunction, or provide some
     other type of relief?
                                6,vee
                       -,glel-71(e- /~ ~cl
                                         el~d                ,c~'M
 a1ifo;zWt-,&1e-
 &~l 5 -Aa,, 6-r f         er- On -AC
                     A1
                      ,M6 ('63), j  -ix 4"ICI Z~'Ige,-5e.4 k-ec-e'- ~ n e ca&4e'';
                                    ,
                                        aCCUr ORel'- re-S-VIV,I? _q h6e In'717Y ap212 1WiUa4
zziral te4z(                                                   ~e lawvraMe            ance-

              y heal-,hy
 4. What legal claim or claims did you raise in the district court or at the BAP?
                                                                      .170 r 1G 4~~)
                                                            02oz-- 2,,
                                                                     -07
                                                7   7Yglzvina ler4 6h Ge,-



eh;3 OV-"'Caz                           her aren1nZC,6b,- 197
      tWeX-1)7g,
  ;7                                                     .may zrwcef 1,-Wa1eaCAqq.,)



                                                                         (Cp/ z F/IW4'Ael   -1 Fe
                                                                                            P
 5. Exhaustion of Administrative Remedies. For prisoners, did you use up all
    administrative remedies for each claim before you filed your complaint in the
    district court? If you did not, please tell us why.

         vel~'
           Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 8 of 22


 20 - 7/ ;                                LA Ll~'l5 --
                                                     11 3—t0 A 4        page
a~J~ar n fit',' wider the false                        -r r~~lrl ~ Aee,6el v„
awq              trl;,el vwe 7j~rs le7IK 6 Si971--c (A   i~f7         J~e o"
1~dclr~v, nor
and rlo5e
--~=- ~'~1~~✓ C~rC!'i r~ l1 l..~nl~- ~~~~IO~L~S. //Z~ ry2.D SG~C,~jr" GiU ~" ~f /~QGK zrJ1.e~1`e{J~ Gl'~
                  e'r                 d 5'Sert<-,,t5 MV-7' "~~~/y relea--,,e
fin fit, em -elect o"d elw,Me and°lr.- /dale h-eae. peh .2, a9 6.9:: 2j7
 'O. t=riuhe~ S~cy~ r~5 rrvycd~ C2,e7.7.


~'eai fo ``GrE7~d~~Pry ef Sr~n ~r{d e lay ..,pac 20~ .2.•oL /9725; 07,
   Ceoininr zed ~~rr~d ' e!".rnPS'~ ~r~ r,~ry ~ an ly ~ /Se bGG t ~c~l~'~G ~ hoc ~ 97
22,l~ Gl,Vale                 /e coe4zf as elCC,l V-0c —,- /1 Y, t3,~ ?/re 6iyr~~r/U1~e

,~i~~' ~al~ru~s ~'rzzv~::dulifl~ 1s ~h~ SGih~e ?~r~ ~' ~i(r.✓~c~,s .~1~~~,n ~/~•/ ~j~~-r. r~rc.~ J
~~y w~ ear ~~~,.ne, ~k; az- an• ~!p rai~~-- ~>ie ~nly.~r~~ e~vJ~ ed° ~,i~ ~,1~s

pre-seca4far<s u"15-U4                 1, p, g4sana,e 12ez.e,~s az,            i97               zo,v,

 t. 7,    - e ~ ,%7S r rem Plre
         7X                            r~ of' R ~Z'z`~,~         `rnrsr~=nd'uc L; ~,~ r , am,,~3•'u~


     v, 9, Z`Ge,crap .'S Ssfm~~-/i:~✓`.. See !~T                       9 ~~ 1F Src~4?'vc /Lec%rcfrY~~
li t/Y 11WYL P^l~Ji/Si dhG G~ 44VA. i A/' < 4 n(K41,, e/s'S
grc7hdv> k ler 7'-e6) - See P&7aPrz

         G Gt~t%CS    AIC   f4Ve •,5Cee'Ml           un-2!;~4scWd ?lAe 's/0ec:r~C
                                                            Ar li-U,14 . -k7
                                         m! j7ns far:nomi
                                                       es n                                       Mal'? .,



                                                                                 40 dr          ze, ")
      •'t ros~cu.`t'vr'.S' r-{u7`~, rrac{~ ~- Z~ue fora r-~SS Ufc~us e c~ f ~`eaf"er~. l' ldr~~~,~n
                                   70vo-alMe, w`a -(Ae                   S,7
PVte i~r~ceSS C/Cvv~S~ 1~", ~G ~mBne~/YI                     > 5- evP1Ira4k Ae-i-c. s&;wee—
-etr'/~z°rr~ rG{d~~ 2.`D ~r~errt~sfirl'►.~"•►-~ ~ sSu~S..
              Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 9 of 22


~W-I03T(% Z/-/004'c


             Z_ f      C-ZWeC7('e 41'a ro vrL 69                                  'WVU-0'~/̀:5e,
             7      In n.9     i eM, e,                        7,c -,v"n
                                   z64,aZ erg      612 2A4'.



                 F,~~e ~ A:57-- 1,97
          00~>- 3,
                                                                  1.9 92 R-5 /0, c,-VI`9,

                  Ve                                    /~-eez57,-;7"ap/-2~r
                                                                           mn KIC4,91Z

       Me/,~Vv -:,ein-,c                               -ZZ?-
;,-




,WMM,o c-e                             _7n
                                         -
lie,

/7e al
     4loge'r                        iS 6?
                                                                            lclne-C 79r 0491710-rcVY

 afiC-74A,
         -r      CIh5




  argen he, il



                                                                       or

the                                                     r1C VZ(I
                  1
                  0                                    an                                   Me-
C22al-e     ca~5Z.5'                                                                   211Y~40
alld ra'%/aI2~ ~qn
           Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 10 of 22




                                                      12 ts6iln
                     '
                     P poc-                        Cr Me- Pc"                 Z,?, 07,
                   e-av,-Z- 45

                                   3:5Cad 7"aC-         arm       npl~,c. &'Mk,,
                           f~1-                                           c5e"
                                                                             -
WeZavl& ~e- W-e3S,-Atze olC 19Syc-A,-                                                     'y
                                                                                          f-

                                 A5
        e-~57 art                 d'
                             ? r`
                         X. Mr,

                                                   71e
                                                     ~rree'*                                    If



            darts cZ



IP74-   41419
o,-e                   or, hake, heerl.,

anW cVzt4xL~>                       69                 5-
,um z4,AV,
         ?-&                         ew rz,a lea,) ;
                                                   ' ,r2    CYISW-643-n5   .5712ej
                                                                                ,Cett't-+L-o Zir,
reke4

                                              of

   ZeLl a et-f-ez, I?u
                                                                                          4n,

                    0/1 3-711-,,
                                                                              12
        Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 11 of 22


 9th Cir. Case No. .2D--/O.~7/; 2-1-1VP4a                                       ,,4
                                                                               6L             Page 4
                                                                                  _

 PROCEEDINGS BEFORE THE COURT OF APPEALS.In this section, we ask
 you about issues related to this case before the court of appeals and any previous
 cases you have had in this court.

 6. What issues are you asking the court to review in this case? What do you
    think the district court or the BAP did wrong?
6.1
M,    ya6,'75

                      MT6                 he,
                                            a
                                            ',,45 49e We4-t'-a                        e


~ez'
   --ilne aly2al-ex) 1 72, Pac 'Z                                                     77C

            7w
         t~ea      ew~l.   // ?g p ry 5e 7 rt, z (Pb< 7S                                  Pec 179
                   -Mie 6,,,';, f4,,r,:, ,~2
                                               a     c-,-ille   t R/-a 111Ae   n5     C/ 5erV"

 7. Did you present all issues listed in Question 6 to the district court or the BAP?
    Answer yes or no:      >1105

      If not, why not?
            Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 12 of 22




tt~ , fJ fcrC j / iss.'• ~r~~ I ~rY z~~. reco,~x°S LG i2,7- The p"h4'e c~e~rn~'Prs'
                                                         reco~grrr3ccr'as such, by
r2eurje (Pe,- 2c'?,j f. /~, Zt y 2• V), BOG /g/ O.Ws ,new1,,ca/,t&rvre6, &,%aenas e-S
a~~~ar~zr-~~.~ z~s ,, ms's a~~,~,1 as c.~i~rn ~ ~~Jc~/ ~r~i3~r~' ~ es; c~s-~ ° 1~~~~ ~n~✓ .~y~r~ s~
                    40,&/17 ~ oW2                                       2E25 70;;--o -7)
 cv ,~ ~errES Zhe mvd r'~.cC.~ s ~~7an~ err r^ r~sc~ en s s,»cc lZ prC,,        -
 ~55rrr:~lar',vr.~r~,.sji~n~ni~
               6                                              -41V ~Pcs//,`a ef~~elc.
 Lire ~~ .l'~le ~z ~~l ~ ~: ~• 9J
        7h see nc            ~cryrvr~e~i ~• reca~sra!G~r~ :cry- Q/c~zra~ ~P,OC ~~~)
 (1227c       hl-2,a9) reie4era&,5 17ot-nts in pc96 z95
    P .mac fS a bvt -e C 3 ec1-4•vn
   4, The rema mdlr' o~r ,Z11 cs t ~r~; ~ n~en~ed to f:~rD Y~~e t7•~z~ /17, S.,s 76

Qnt'c%s'•%t r~n~~ ~Qd~rr. ~r7 t; ~~iE`- ~~~~r~ra~i`~ f~,~- t'Dr ~ .mil! 3. ~~ !S ,~

                                                                                           e-
`lf ~/P7/r~f                              /J.wei`Z ; a,-7,W rri,9   u,~~ AY ~s
 retie%ri fry r`h~ rE1~.Y1- (~nca~': -ea; lilyrai~,Ei~c~lF'E'c~ eo;r~ ctrrrc 6crf'`j
                                                                                  IJ 7
                                                 2             ail~
1'~vc' Wit! •2i2) ~S ~e~1~J cld5~~~erc' Cf~~ ,'riairer,dos are<r~~-~%r~sseGt' ~cJo~v~.
         poC 2 3,ov 7 Cle            adadresscc/ 6y 6.,!7 late).
          .zlc 2l( 3 10-1% e frhP.n~e O
t j~!`Ose'c-uf, ~W rla/' •r,/r c ~crt -Z 1af hr ve alSe4ed 'Ifes-er, j r~ c ll,-
    ~~tf~i~,~ Jfid-e if 477cc elle°ma- 7~el -;~1zC /9'Y2
Gr/1y       gpp,si.5 ?`v 5,upoc~ t -~ iex hel,~& ffs, L~ ~/z -z77
       ')0 --j s5; hie aC'Fa "Os CerlCe 6K h      fL                            anfi-u
an fa„F; -- f7pale►z
C/7vC l 7                                                            fit 3, t-I'-


tlrlr t P Pn~,`i e aw
                   l :Ij- ul: // 6e ln 4 40i ; Iraye4' 6t~• a~fi~~ r~s < u .fin cry+ ~•aul
-v 17 y -ze1paiA'6 hoc                              -ja
       eg , 4,11i) !e,
a pfac-!,                                      .<S
              4),Orelf, &i i$ Ce4AWM46f .ze zted 6y ., moiP`s~    ac~la
 /W led ~~? ~, cs/:,,v1-dpre-1' //y ,n r/1ecc7 ofr?,y yr~ndof~~f ~~rys
PS,>c : crz'r/se`s 76'-440;')
                          rl (1;'rC 2                  7rS 174 //zP a~s~r; c~' ~U l
          Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 13 of 22




  10C'Sn' ea r>iJr<) /eaf e. ~'S c /ear lhat rtu            ,- say ppWo Ana           Zo -fh.~
    5eec r dv c'oad, 'Sj✓eCialltf re-~~ r 7, my 6-ha"a Andty~nr~ i c,~~~t~, ern.
dr9 `74e 12o-  ,, 1aS 1 n;at,                     1he /9,Ufeecder~ Kernac,"teui,.Iz,yr4!/yIds
-Me n~~~ t,t~5 ~n~ c~s~1~.'sf~s, iyndr~~ arri~Srepresen~s ,~hc f~c-ts.
  lu Po 2a i,Z S - l r 8d iJ,~+hi ral/;~1'~j o~~z~c'i-~7~~'or{~7►~ /r~~€~ yrr~, d,~s +.~
     /0i15ChAMadcr:?fd a5 ee '' 7z2yrar--aW inane, tJ;I'k 1A                         -a'~ 41
        Pvc Z,:95- 1`.ZI6 --Z6' CfJn,11`G9/I. fo `COmpAfi r.5 an et/ `~ rclyrd,y", raA95 rte ,%
       el1U~efV             care er cans t ~-n s ~                f .~. n~~~ arrsG, yr ice
            a-nd ~ Aa 11n al)af-V ells order ~ ~- r ~rf.           Cz~ ~` i ' 7~ - Fer the
                  r'~y2rd,~e~4 l~~akrnsars} ,fee #hoc /7gnpda/:3~n~~
          ,~vG ~~ ,~.0~-U3 •-QCCLESufr?.n•~.S' GIlr► d COn~L~vtzlrZ'rx„5' O f 'i~C`Ctl'S~ uli~! t%cz ;• ~-~/~es,S, ~~
cr>9 ^na r;ay,~o/s"atr~ t1nZ~`+✓ryt                ~/St"~ 6c~~cE~rz;~
                                                                    05 64e,6s rC-i-c-,, fa•
                                                 ve yP~s ~9 0-, ~4jtx ,s, n ~ ~~-,ae J ~ <s
,rayff er as a• .67i,,Pw                        I-'~                        alof'~- Z,). 4 '~~

          AIV1` h4VWfl ez r kil- CeV~rr                                           the S~ri~G' ; bu 1`~n✓ss.~
1``C'c'~r~S crf~-~.ti~E= /fPSp,•{czr' G'~.~vs~,®scd~~y l~'nd lr~~"~c~,r-~ CiiI~;~7s' ~•~aa~Js;:~" ~~
~ SSz1G'5 ~ S are x1h e ,oeliie r" /P" 0,inev ~1 e'c orces  ,        ol~`~ r~ o 5;ej5 "y C,-moe -Ih e, 0-
be-07y' fi,"st ;75z ' ,,                  the tour z, lli ' Ir16l>`c life T rdL~7' rnrLG z~ ,~jcJns?~t
  f~~v f5 to vd>~`.r~- m. ~s <n recta rzsrorn1 /zv-/ea/ Pig Orei f,,. y
pry ;e Poc /79, 7kr 711'--9 /n h~,~ /te r/j rr>~ ` CP,  7, v4) SeA-6
aJ
G; 13                                                 yer le 5-,qcie;s1          e `e ha 1-jeZ9,v
 'r e'.,ef,,1r?p fry i~l /77 oZ2-- '`.,rte P:s rP/) res 7 is zhe ! law
                                                                    % er Lrse e Re
t7YJ~ /G/1i7'`i~^e'y r


z'~'~' j,'~r~~~~~rLt~ ~'nd s`%'l'~'r~•~~ S~~l~~~',~z/ 6~ i~-J t,~'r~rnol~la~u,~h,~C~r
4 r~ Ila

                                                                                                      le-
rnrl
                                      4 eree /Iei --e C' 6.7
`fir r -11e 1,9 9l, P5;e, , fer r-e 1 1
                                            ~
   try PC4 2UJ~ 3~'~'Z5`                 7-e-rC &c Ill; /10 con V,e7l.,                       6q        20x7


~. ~~/%    2e~~r- cS~'~~i-~d7~~ ~~~~ C~~ t~e~~~Jf:.~ Gr n~ l~E'CC ~2sI2•
          ~~%                                                                  G' ~/~'~'i
~'~ ~<h~~ z~fi~ ~z: ~7,~'rct r`C%cvL~ ~n~ ;f t/~'r.•J a>r~n~ ~,L~©c~ zv~ ,+~~y~~...fi~'.~'
   17 .Aec 21~15        -V- Ec - lilr r 'fir ~~C~tP lrrz f z~r~ ,rah r ~~s
 CrT e,-       X4 7
        Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 14 of 22


2lJN I1J3?!i/170~f0               2`SS UPS_ —Lt
                                            Gar
        65e weaw-rc                   1'4 /7c,t- eln?~o alol"-e     "'
                                      be',-r7f a el;, vy,2~- /.q
                                                                                           am/ 'I'Oel
                               a jl ~w                                       1;19          Ape 611-641-




                                 se                         re    Q16




                                                                                    /A.-   AteW7fo
                               ~~Foir;e 4er6- Y,;,Veej                         ("O"s 41re




                       XeXe
4JA$ /Zj ln&TIA5, -lite ewilc,Vorq     zrlaelea' 3.33 PrveZuc74,tn -v>4a.,11!
                                                                            417r ?Vn 3
                                                                                     27

                                                                    -          J--V&Y
;rz- Se,-40fl
 hey a /Vf cvnylef azzerel y
7rh
  - e fero,-?d Cre-v,,e;~ remonW,-ng                     nv7c -~ iehatl- he &I'a 5
                                                            '<,
 Izoen ol~-Me d"Ser"
&,                                                         "XF

                 eop                             ral7ge,/1' 7,4e
          ZISal /,/I C- nm                    (f 12                            b
                                                  04'            -9j; &J-7    W,!!5   1,



                2                         a6"


      Pzyl-Vee -all                                                  -7e-zlea.4e ev oa,~
          Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 15 of 22




                                                                                           fir,
               galrts r'a1m-e,.5,7 anal
            , ,e

         5r j-?                         &-),a eha -s a;ycw-c a e~ z-he, Avrepler v,26                    /67
                  Z4-1-5- -6-'13                                                              es

              Jeerer-"?f -that' the enW
                                     ~ ;
               17araorniee.-4 -Z?°i- erne ~Iat
       'he e,-W,Yel                                                              Q1
                                                                                  1SpOez, loel"ell
                                                                                                 s,

                                                 "one
~b~ /99/




                                                                eec SWer
                                                                eIrIl-7 ///,-, - -, P",f
2,9c       ;?2-~ and Poc Zap 4,15,                                6 IZ-,
                                                                       7,Ve
r'r        camZ S'
                                                                                                  / y&
              elaesvel~ evvWc-le,

-ZIe


      A:~71,a 4e1e,4.lt-
                      - 4cl rc~el- d 75M                        1349P Z~7 v-5?a


                                   Carla
&25      e%7c 2z 5 -~Zl '21~d-ertn,77 e- Me,57ee-e.19
      'e             haw grace Ye1      ,q




—
11e &'rep paplshl;,?erke
                  Zhe                                           senlc"e-e, fi-cai- Me
                                   "Sht,,ck               serv, - ~ ",7o I-v      h/,e
           Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 16 of 22


                                                               16~', z-/ 6 LZ
 `The <,c5e )i                              seiq Cen-:~6                     bect 17"Ot wrea/al,
  nBGe SCcr /     ,arm
           v
 cSu6 SPcr> r ". %%`~ ~3• fa'~ ~l?e d,`5~'r u` C~Evy ei P, 5 7r- u~: c~lo 0r a& f<i
~553~~) fcrr~ar-s C ac 2~ 'moo ') A~,, asses Ire C,y,
 p/r~dS,S.Uf2$ CCr7t'~ ~il'tp~,s~2'r~ S"eh~~rieeS ''~~r'~~~i ~`hc~z ne-~~sS~r~i, `'~ ,~;f~irE•iSvtr.~
           ✓
 ~~a :i sera                              tr~c/rc'f5                         2 j~sr~S, i nGluc~~7ty
 Cc~~~rdl ~ /~i"or~r~ CJ~a~~~~racr:9~ q`e~rn~l~~-~ rJ, ~~ ~a~~a✓~rrr.~~,~~1«~e
 ~f.~ie'r- crar'~ecGrio~•~ ~r~~.~ .7v t✓P ~~a~~'Pr-.~~.~ Ls-~~~:3~~-,: !Zeg~r~m~

 ,xuehlas cakes
             ' l-acts                                      5ey ojq~wa`en

,ftmlmewz .ry /TES ref ~t ancsr                                      so' encZc'r ~~rayr~rrU
 cZ~ ~I- Sfl~r,"ar ry arlal>lrpe)S'~e 10f/&11 f derv/ p~:St1nS awr'afs trp~zds` o she
                                                                   -1he Cori, m~nr f   rz
   t m~y~~/ ~j                  cr m o{Si✓~Jert/~s~a'r~l~i2~~~ SCE ~~ ~-'S.f .f3✓s~
(y~~~,~~ eon,~2'i~,?n~ i c~/e~~se ~~-~ :rr.`~~.~~=' d~n~r ~o ~i5e Con~✓r►~<n,dy~ ~~
✓~tir~s~ C~: r%orlirrs'"~c'r~S:i/e releeZ& r0:~z;s Yerq
 Corr r~%onS leer ZClf and PrIel-V 7'0'r ti119 fa
 ~,z } Poi 2LJ ,S 25 "`&Lea-~c I z             4eljee e! s~~r: t,~, 1?.q7/ ,-,- Awn ereat>
   cr`,9sr?r~ir~ry, s ' prrrr'say                &:zrL red eem ~r.~s~ra~rffy ~rvus Chou rE-
 ~rJ ~eQ ~r<djes sucA a s ~~e -~jzocLs~r,4%s crt r>ek/
 razz,~. unerl-r &); e/~;                                               YiCeJ o{ Me
                                                                       s,               kV

      fact u ~rrsorf r ~r~~n« a-eWzic4,22a s- 1-7eeelm,21 Z'o I-ea!"ee e4l-•~perr-r7%1
rrrt /es5 a p~ ycvc~~~ cyn~ Ptri'c~en~.                   fietr~r /,Vaw
(~ -, 5 /2vc 2!r' .r'7 /f 7-X,- eeawk+-a 6;zrw s~.~ ~l/:'cr'~Jr~,ctr~ beau-n,~ are r-wt
  crs fvr: hef rrr z7se &YpdSn5 the                 /egSa,2S' dkrd atso fa Gf✓S'~rT1~L/~~
                                        aa.-aokr ~i~,~ .s n~o~~r~~z
                    re5oIve, z* rnefrry
            -~~c Dry, 7heSe fJa4p,-,sEsare ale!/-K-iaaa✓rz ea leie
                     z`o ,±r?~/`Cet [~ ~rZlydrrsr Pnc~ ; eha-v z b fzo e rh ov o+
        anl~liJS: ..r `1f f eanF i Prrrci»~~rn z` icz C~m~~tSs: ante l~'t~~ fc ~5


i(h,~,s 6~rr e le,         e                  j'e bamoean rvfw k/e are' cuj
and-ehe role ofehe cau,^es ;n en-r,,imV ~~ /v e4r r~or~n~f ,yau~ t sd c~i -
7'or^a1-6- .re 2z rr 6t, Azga., 4012 ~°~'~n~ Z~ ?r✓i- or          sps, ~i,
            Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 17 of 22


 9th Cir. Case No. 2a-1D371;           ZI-IOV40                                                Page 5


 8.       What law supports these issues on appeal? (You may refer to cases and
          statutes, but you are not required to do so.)

           7X61 C'oe'-"                 0,1
                                          ,04d44ee"

use               pa'-ey 'o'alne-5;
17   0e               <VVt, ~uDVq Zr2 ,.v c5ZIC ni>    Ac/,~, ee,-1&d 6,
cl,14 IM5 ca5f>
        rce,&'
             -idl
                                                          7 V, 2 le                       ov 1
            erg e r             7~,- 96.;, 79 4. -rd 0A/ (19"32
                    V, ejla,~ jrr~4~ 977 e% 5. /6
                shpArldaH
          "a e e5 v                               917F (9C 2w~$:3
                 Ze tl A1h, Ile0 -5V4' 6      1
                                              !, 4'37             z        6
rt), 4 rl'-14      0/                      u/& %Iekarma          7 for tvra,~ Ae e i- 7,,nle       -fl, it
      49&rrs &CIlven,                                 146;~i11
                                                            '"'/)
                                                      Z 0                ellellh entee
          lv4pu e V.

                        'Me

                                       (-zc                    jr             4r;'-er- -ZV 4o7elt-Ile

                         R V21 3;19-er-         911,s?1AOYa           -ri eare



          'a'7 a ri,          5            te z 2 -
                                                  t aw i lh.
                                                           -e /z, t&ld/,rsev IX•72 /n,9~,7~l's;




             -

          ,qbl           Z
         Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 18 of 22




                              13 63)!t'i) cind (47)~ R'C6r., rW5
                     WP 7Y,5//4/zazr,;                         ,yreoovely
I: YP,01,44 ro cd,:5 /n                                                              ,2k,-5
                                                     ' in /?years eoms7.,eplercel sPr,
                                  e, 2.1n, al /.::Fo Ao
                                                                      1-7e
        %Z/47-5 .AZ                                                       al7nrep"eY/we
                                                                          -




        Lee lvpc4 iY-cr-ao419-s-r-I J-113;12000
-fi-e2m Z e-,-  h/,q       6,ea ~f enZcael                        2 Lee ef

        t-j<1yf)E'S Z-PIVY                                                            CA.
        FarAer       ,_7
                  Cpl

Wj11,,7,C7e IMPt-co                                  5PrY

                   41,56r 11,0z'e                     oerony ez-,I,~e
         Sep area. 50 /V y                                        C/o lef ~elclv
                      ,
                    t5,241y                                      r Mnles-ieree)
         HqfsA, J-rn&e)c-r, ez-5
        4?lf/(C'r l-PW_7
        Alzjol(er 975           -72?(eC Fe,&)
        Par ree, 4;(6            /751(2c .2,010       1,r2
           ewl~-,?zf Jl' 4 F,3clli?l(,?C         f6,14-7
        AkR,gneG- ,-rphiT lll;rlzvF-1
         PK. ee, 7X t; 3d 879                   CP 14 lolillzo1,q k~/~
                                                              yrjalC0171/y,7/0/-

                      2 ag W st4
o vow

                                                            i7
                                                              '
         A"
          ~V,,,.Jo
                 ~ rc                                                               ova, liqhle)
      ''re fed se'' eo

        And0 ke r, Zu6 CO 976           22, CZC OVA 9) ty bears

        ,~~/7In e /7
   /Wlpr,                           a    ~Qm Z~ erm; C? )C; D ba
s,ueplw vVeWrc,,1e4.i&, //)           6,
                                   03.7
        Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 19 of 22


 242-10371) 21: /4)0 ,~Id

        Curry 12 CIO (94) 171    141,WOI ('Vee "e t7" 's C-4,57rivr
cin-el;- 's 7 hd0e ~ovr~a' is t a cool r`_ _ _ neee-c117o e Arouse he~~ Peiz
im,yrFal,el~zle                re Ma,%e cr12dn4• I'd C%      ¢LG. ") G. 22-7
      POWW SP W 0~4) 3. W cr-WO4 ~~29/2ozo t/ ~r~ fr con S~~Ge~i ~s
 C.~rd~t--On S j~/O feQ'; rPs r~Gtrrms~r~„-,vf~ r~s~~c~ fld~iJ~ ~~lNct'par~?rc~
        kldf rr 5 O, N1 D.
       klena rah s-P IVY 11-cr -RJ -1 07SZ) (yi3- 2a2i~r-n~s
~t~iQ:~ ~d, romP~ss~onA~e ~(c~QSG' ~ 5 ain,~r,~frer : _ . W/~fysup~rvs'vr'~ comp, z`i~in.3>
    :s five a raledse                  rre QYen ~e a
        L Upold Falo Fee i f ppX ✓~22 (Re 21>A0) I-Re g l-ei5~S 47/o<tlpi5 eeS-
~'v c~i~'~ei~a'~tn~•'S ~rCG,~~~noss ~o ~ornj~ /y t~J.fd~SL~?z°r-t~rso~~ co~~~~.znr~~~',~.~
       Saw; c 3 EO IV'K W/0/2eg20
      W //,.Im 5 6-P Ala                 31a- 5 91-V 11/2 s/2oaa
       ,Gae'~o 976 F.3ol2zf 237(,Zf -We) tree Otvoke/                  4~-.23~ 2~1
       Sa~perv-mortl A~e'len5e (ana:                                     /2iSi<
      Oeff,amy p N1N c ✓ i5165b' ✓2 r L /Y~ 7/z /~~g (t~,~ y l,7»r e~ r: sec

     /~2rr EOilr 2/is/2a                   G••ry sPY~rz cases, r~c~vl~l,»~ /~~7r~~~y;
✓v6~~S,.~'lc~st~z~, ~~j~a'-,~j~f~lrs, {lceZ "feet5Ana6/y ~1~~~, r~~ e-lawyer-hy
 yy/~v,~,?~J tc~~PlrsP G'D~ ~ . • ~1'?JP7.r,
      Ak- C7ru uJ SID rAl c r avOi£            .T/6/ 2oi9   1— s~r,7y 19
io ye-I1er A),*r~ tl;wsZ1{o'cai',77z.;,
       fe~71&j6    /9 G4 -~~'-Z07~G ^uhG,~ke/~ ~`r pnje- C? c~Grh v^ ,rv1 ~v
 c-:o/d.`t;d~At Conor; E,vn s of su~~e~ter f E"Q/

Gtvt'er~La~E y
             l ~n~u~,c' /i;'s LD~1~i~I~~f.G~ ~~od f~chd~ or 01rr' cdbsfPn f i?rn ~rz~.

 ~35y~•~~~        ~,~cr~2s
       cfu{- f;•c ~ ~`~cy ; ~c~rs,:r~~r'c,~ t~rn~~.;~ to
      Pnzq v (1, ?/Ier7"
                 r       Stvt -,Ies
 ~',~,ny sn~c~{;'~ 35,53C~~ ~~o~ar,.s, renan;r~ousl~ rc'versfcict ,~~ohx>> SP~~rrlvc
~hat1 ~`!lE Y{     i'cu~" had rrphelol ~Lj.'~-~~/zsSi': re ,Q~herts Pm~✓h~rs,~cl ~Lre
  ngrsimony pnY► c,p Le,                                           -elhe <om4os 60
`F p~Se a Sen eme 5zrl 'oeld,
                            i       huh njo~ grmk,,- Man n~~~ss~rr
AX e fps y 40- (/eras, yt~ R~~n; ~/' Sen              ,- cjZm
and Call ai-50 12.6 (2coV,
     Pack( Sri ..Z?q 0- 93 cr-47e70rq 712712e:,-V (`r~3~rir /7ns 1,w27.nvJe
*rte O&j - - - /)ro free 44e /Qu/a% e ")
       Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 20 of 22


                                                                           page
      Zee- 4 7 6q
      Z4e (IlaVe                                           j &/,71-4 IkXe p-,X,-0,

                                                             (




                                                         Sea w
                                                        _9 0,&rrSPry -
                                                                     67Aall"7112177

                            lz2e9-; C',9 e'




Can                                   d t,-/-,177

W~                                                  a
                 Jv 2-1y
                       ,
                                                                                   -rA.1
                                                                            9 -11'k,




cq                                                                l-& le




              P, 41V &Io3lzo2a Z, le' -/o

          Q ezell Ce&TRII z 1 0/111
       orie 19 9 F, 3z                                  C1'6 ,rze

t-)tjA1s i-w6',9d be hell


                            w4irA,lie aa,5
        Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 21 of 22


9th Cir. Case No.                                                              Page b

9.     Other Pending Cases. Do you have any other cases pending in the court of
       appeals? If so, give the naive and docket number of each case.
     A,I
      C7




10. Previous Cases. Have you filed any previous cases that the court of appeals
    has decided? If so, give the name and docket number of each case.




                                                         L




Name                                               Signature



                                                      j 51       1
Address                                           Date
         Case: 21-10040, 04/02/2021, ID: 12062627, DktEntry: 6, Page 22 of 22


                                                                                         M8
                *:V) Sol-/                                                    APR
                                                                   Fl~E             ®z Ze,
                                                                   DOC O
..    7D ~ Cj~k v~L` flie    L'OGc/y~                                 K~'EO

           fed; t9ex       9~°l                                                          lIy~
                                    ter^                                                 ~  JT q
           v~'C,y~ ~`D1nLlYJGO' ~~ 99^3`~3~

     ~~iQU~l: I~Olcldf'tl ep ~(c~►mg ~'Y
               iG'GI- Sh~~.afan-
              `
              7 O. acv ~OOt7
                             Ole 9737'
             Dpe ry far.-e f lCa& c,45-e5



           pled 5e    Me my
     l,::~r ve erze-14eo' t/ e ~n~~ GY~U,`f s . S~~~a c ~<znz. (,7~ yv,~-J ~e~✓o~S~)

     z`o a etfJrn,"1` Erie Orr :7Yt`D~/y , you ire f~fn~ ~iy Me&                              __.


     ~3' ¢rLee ozz►.rl co~re~t fd foie ~~st _of ~ ~.ww/e~~e ,




                                                            f aY
     GtcSe .242=- i6,7 7/ a., W Z                   ?t? 4wllef f~ ~1 ✓~



                 ~ 9 3y3                          ~f 9Sf1~9;
. ~ n. tjie ;~i~f: ~~~~ S ~ eyGl M~~•~ W:f~ ~rs~ .Gloss G~~. i~vt~a y~




                >L/o[t/Grrc+/ Z✓~sletf. Lo t`~er~n~ /Q~~.e 1<.n~
